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2    General
3    BRIGHAM J. BOWEN
     Assistant Branch Director
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     Counsel for Defendants
10
11                             UNITED STATES DISTRICT COURT
                                   DISTRICT OF ARIZONA
12
     The Church of the Eagle and the Condor et                Case No. 2:22-cv-01004-SRB
13   al.,
                                                              UNOPPOSED MOTION TO
14                       Plaintiffs,                           EXTEND RESPONSIVE
15                                                             PLEADING DEADLINE
                vs.                                               (Second Request)
16
     Merrick Garland et al.,
17
18
                         Defendants.
19
20          Defendants through counsel and pursuant to Fed. R. Civ. P. 6(b) and LRCiv 7.3,
21   seek an order extending the deadline to file an answer for 30 days, until May 3, 2023, or
22   30 days following any amended complaint by Plaintiffs, whichever is later. This is the
23   second request for an extension by Defendants in this matter. Plaintiffs do not oppose this
24   request.
25          Plaintiffs filed their Complaint on June 9, 2022 (Doc. 1) and served a copy of the
26   Complaint and Summons on the United States Attorney’s Office for the District of Arizona
27   on August 19, 2022 via certified mail (Doc. 17). The Complaint sought declaratory and
28   injunctive relief stemming from claims under the Religious Freedom Restoration Act of
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1    1993 (“RFRA”), 42 U.S.C. § 2000bb-2000bb (4) and under the First, Fifth, and Ninth
2    Amendments of the Constitution. The Complaint also asserted two claims under the
3    Freedom of Information Act (“FOIA”), 5 U.S.C. § 552 (a)(8)(A).
4              On November 15, 2022, Defendants moved to dismiss the RFRA and constitutional
5    claims (Doc. 23).       On March 20, 2023, the Court granted that motion in part, dismissing
6    the constitutional claims (Doc. 26). The Court set a Rule 16 Case Management Conference
7    for April 20, 2023, with the parties’ Joint Case Management Report the previous week on
8    April 13, 2023 (Doc. 27).
9              Under Federal Rule of Civil Procedure 12, Defendants’ deadline to answer would
10   be due on April 3, 2023. That deadline would come before the parties are able to meet and
11   confer per Federal Rule of Civil Procedure 26(f) regarding the joint case management
12   report.     Undersigned has multiple preexisting summary judgment briefing deadlines in
13   other matters over the next two weeks. In addition, Plaintiffs have suggested in
14   correspondence that they may seek to amend the complaint, in which case, Defendants
15   would answer the amended pleading instead.
16             Undersigned contacted Plaintiff’s counsel, who does not object and will not oppose
17   Defendants’ request. Finally, the requested extension would not result in a significant
18   delay and undersigned affirms it is not sought for any other improper purpose.
19             For all the foregoing reasons, Defendants request that the Court issue an order extending
20   the answer deadline for the remaining claims for 30 days, up to and including May 3, 2023,
21   or 30 days following any potential amended complaint by Plaintiff, whichever is later.
22
23             Respectfully submitted this 30th day of March, 2023.
24
25                                              BRIAN M. BOYNTON
                                                Principal Deputy Assistant Attorney
26                                              General
27
                                                BRIGHAM J. BOWEN
28                                              Assistant Branch Director


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     Case 2:22-cv-01004-SRB Document 28 Filed 03/30/23 Page 3 of 5




1
                                  /s/ Giselle Barcia
2                                 GISELLE BARCIA
                                  Trial Attorney
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                                  Civil Division, Federal Programs Branch
4                                 U.S. Department of Justice
5                                 Counsel for Defendants
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1                                CERTIFICATE OF SERVICE
2          I hereby certify that on March 30, 2023, I electronically transmitted the attached
3    document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
4    Notice of Electronic Filing to the following CM/ECF registrants:
5
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6          Law Office of Jack Silver
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1
2      s/ Giselle Barcia
          GISELLE BARCIA
3         Trial Attorney
          Civil Division, Federal Programs Branch
4         U.S. Department of Justice

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